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                           UNITED STATES DISTRICT COURT
                                                          for the
                                               Southern District of Illinois


                                                                    Case Number:        l:;-- :+o-4 -·su <L
                                                                                             (Clerk's Office will provide)   \

                   Plaintiff/Petitioner(s)                     ~CIVIL RIGHTS COMPLAINT
              .               v.                                    pursuant to 42 US. C. §1983 (State Prisoner)
                        0 . '
~· f: ,O\.{ All:) l _                                               0 CIVIL RIGHTS COMPLAINT
                                                                 pursuant to 28 US. C. §1331 (Federal Prisoner)
                                                                 0 CIVIL COMPLAINT
                                                                 pursuant to the Federal Tort Claims Act,
     ~-           Defendant/Respondent(s)                        28 US. C. §§1346, 2671-2680, or other law




1.       JURISDICTION

         Plaintiff:

         A.         Plaintiff's mailur'?Ad~:_ess, register number, and present place of
                    confinement. -jlc.~~                 ~ ~ lT~
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                           ¥a '15o"tL          3\
                              C..J...\-t s~ee ., =s=J.__.            <.o z ~ 3 3
         Defendant #1:

         B.         Defendant           \:-r. :E.Ov-kelS \                                               is employed as
                                                (a)      (Name of First Defendant)       -

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                    At the time the claim(s) alleged this complaint arose, was Defendant #1
                                                                            '\ /
                    employed by the state, local, or federal government? ~Yes        0 No

                    If your answer is YES, briefly explain:

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            Defendant #2:

            c.                                                                     is employed as

                                          (Name of Second Defendant) .

                            (I oe.\?£0::i\ f'J \.. \it ~ (\ .:_ ~
                             -                  '"(Position/Title)



                                          (Employer's Name and Address)

                    ~o. ~v_ \t:JG(t) ~ \Jt::h,~ ·-=tL                                    lo'(.?S o1
                     At the time the claim(s) alleged in this complaint arose, was Defendant #2
                     employed by the state, local, or federal government? )~Yes        0 No

                     If you answer is YES, briefly explain:




            Additional Defendant(s) (if any):

            D.       Using the outline set forth above, identify any additional Defendant(s) .

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II.       PREVIOUS LAWSUITS

          A.       Have you begun any other lawsuits in state or federal court relating to
                   your imprisonment?                            ~es        0 No

          B.       If your answer to "A" is YES, describe each lawsuit in the space below. If
                   there is more than one lawsuit, you must describe the additional lawsuits
                   on another sheet of paper using the same outline. Failure to comply with
                   this provision may result in summary denial of your complaint.


                   1.    Parties to previous lawsuits:
                         Plaintiff(s):       ~\-._,( IT+-\

                                                              --J
                         Defendant(s):
                                                    -
                                                  Qu..' ,...._j\ DO

                   2.    Court (if federal court, name of the district; if state court, name cf
                         the county):        Wce:Tt-\-:eiZ-0 ~\-~                             . Gou.R\
                   3.    Docket number:

                   4.    Name of Judge to whom case was assigned: .                       3<!J s   J t-J

                   5.    Type of case (for example: Was it a habeas corpus or civil rights
                         action?):    a_ t''-/\. L             -\ <:\~~- 5           . 0:\ ·l c-1
                                                                 t_)
                   6.    Disposition of case (for example: Was the case dismissed? Was it
                         appealed? Is it still pending?)
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                                                                             ........_

                   7.    Approximate date of filing lawsuit:                 Gc::c.           200(o

                   8.    Approximate date of disposition:                6-              ~.




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III.     GRIEVANCE PROCEDURE

         A.      Is there a prisoner grievance procedure in the institution? )'{:yes   ONo

         B.      Did you present the facts relating to your complaint in the prisoner    .
                 grievance procedure?                    .       .         ~es        0 r~o

         c.      If your answer is YES,
                 1.     What steps did you take?
                      ~ L~ ~-JT·,-n        :e;x_-t-~l<-L~TC.':J                               l~




         E.      If there is no prisoner grievance procedure in the institution, did you
                 complain to prison authorities?                             0 Yes     0 No

         F.      If your answer is YES,
                 1.     What steps did you take?




                 2.      What was the result?



         G.      If your answer is NO, explain why not.


         H.      Attach copies of your request for an administrative remedy and any
                 response you received. If you cannot do so, explain why not:




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              IV.     STATEMENT OF CLAIM

                      A.      State here, as briefly as possible, when, where, how, and by whom you feel
                              your constitutional rights were violated. Do not include legal arguments of
                              citations. If you wish to present legal arguments or citations, file a sepa .ate
                              memorandum of law. If you intend to allege a number of related claims,
                              number and set forth each claim in a separate paragraph. If your claims
                              relate to prison disciplinary proceedings, attach copies of the disciplinary
                              charges and any disciplinary hearing summary as exhibits. You should also
                              attach any: relevant, supporting documentation.
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                                                                                           D.
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        V.        REQUEST FOR RELIEF

                 State exactly what you want this court to do for you. If you are a state or federal
                 prisoner and seek relief which affects the fact or duration of your imprisonment (for
                 example: illegal detention, restoration of good time, expungement of records, or
                 parole), you must file your claim on a habeas corpus form, pursuant to 28 USC.
                 §§ 2241, 2254, or 2255. Copies of these forms are available from the clerk's office.
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        VI.      JURY DEMAND (check one box below)

                 The plaintif~oes 0 does not request a trial by jury.



                      DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

        I certify to the best of my knowledge, information, and belief, that this complaint is in full
        compliance with Rule ll(a) and ll(b) of the Federal Rules of Civil Procedure. The
        undersigned also recognizes that failure to comply with Rule 11 may result in sanctions .



                              .,

        Signed    on~_,'-="~.··o.:=..c..+--¥--'tL----":T--"'-""""""'--'---l



     C~tsee? ~-u G2233
                             Citf, State, Zip                                        Prisoner Register Number



                                                           Signature of Attorney (if any)




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